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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

AMERICAN HOME MORTGAGE HOLDINGS,                           Case No. 07-11047 (CSS)
INC., a Delaware corporation., et al.,
                                                           (Jointly Administered)
                       Debtors.
                                                           Hearing Date: October 17, 2007 at 10:00 am
                                                           Objection Due: October 12, 2007 at 4:00 pm

                  MOTION OF UNITED HEALTH GROUP FOR
     (I) RELIEF FROM STAY TO EXERCISE SETOFF RIGHTS PURSUANT TO
  SECTION 553 OF THE BANKRUPTCY CODE AND (II) OTHER RELATED RELIEF

               United Health Group (“United”), by its undersigned counsel, hereby submits this

Motion For (I) Relief From Stay to Exercise Setoff Rights Pursuant to Section 553 of the

Bankruptcy Code and (II) Other Related Relief (the “Motion”). In support of the Motion, United

respectfully states as follows:

                                      INTRODUCTION

               1.      On August 6, 2007 (the “Petition Date”), the above-captioned debtors (the

“Debtors”) filed voluntary petitions for relief under 11 U.S.C. §§ 101, et seq. (as amended, the

“Bankruptcy Code”), in the United States Bankruptcy Court for the District of Delaware, thereby

commencing the above-captioned cases (the “Cases”).

               2. The Cases are being jointly administered pursuant to an order of this Court

entered on August 7, 2007.

               3. On or about September 17, 2007, this Court entered the Second Order,

Pursuant to Sections 105, 365 and 554 of the Bankruptcy Code and Bankruptcy Rules 6006 and

6007, Authorizing the Debtors to Reject Certain Executory Contracts and Unexpired Leases and

to Abandon Certain Furniture, Fixtures, and Equipment (the “Order”), which authorized Debtors

to reject certain office leases identified on Exhibit A attached thereto. The Order further stated

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that the leases were deemed rejected effective August 31, 2007, except as otherwise agreed to in

writing by the Debtors and Inland US Managements, LLC.

                            BACKGROUND OF UNITED LEASE

               4.     On or about December 16, 1999, Oxford Health Plans, Inc. (as

predecessor to United) entered into a lease agreement (the “Lease”) with Columbia National

Incorporated (predecessor in interest to one of the Debtors) (“Tenant”), whereby Tenant

occupied property located at 111 Wood Avenue South, Iselin, New Jersey (“Leased Property”).

               5.     Pursuant to the terms of the Lease, the Lease term was to run until

November 16, 2007. The Tenant was obligated to pay rent monthly in the amount of $4,713.71.

               6. The Lease also required Debtor to provide a security deposit in the amount of

$9,427.42 (“Security Deposit”). The Security Deposit was paid by Debtor to United at the

beginning of the Lease term and remains in United’s possession.

               7.     On or about August, 2007, Debtor failed to make the monthly payment

required under the terms of the Lease. Additionally, as a result of the rejection of the Lease,

United has a claim (“United Claim”) of not less than $16,655.11 for unpaid rent through the

remaining term of the Lease.

                                   RELIEF REQUESTED

               8.     By this Motion, United seeks an Order of the Court granting it relief from

the automatic stay to allow the immediate exercise of setoff rights by United of the United Claim

against the Security Deposit.




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                                       BASIS FOR RELIEF

                     United is Entitled to Relief From the Automatic Stay
                                to Exercise Its Right of Setoff

               9.      Section 362(a)(7) of the Bankruptcy Code provides that the filing of the

Debtors’ voluntary petition operates as an automatic stay, applicable to all parties, against “the

setoff of any debt owing to the debtor that arose before the commencement of the case under this

title against any claim against the debtor.” 11 U.S.C. § 362(a)(7). However, Section 362(a)(7)

“does not affect the right of” a creditor to setoff. H.R. Rep. No. 595, 95th Cong., 1st Sess., at

342 (1977); S. Rep. No. 989, 95th Cong., 2d Sess., at 51 (1978). Section 362(a)(7) “simply stays

its enforcement pending an orderly examination of the debtors’ and creditors’ rights.” Id. Thus,

a party may still exercise its right to setoff in a bankruptcy proceeding but must first obtain relief

from the automatic stay or obtain an order allowing setoff prior to exercising any right to setoff.

In re NTG Industries, Inc., 103 B.R. 195, 197 (Bankr. N.D. Ill. 1989).

               10.     Section 553 of the Bankruptcy Code governs setoffs in bankruptcy. In

relevant part, Section 553 provides:

               [T]his title does not affect any right of a creditor to a mutual debt
               owing by such creditor to the debtor that arose before the
               commencement of the case under this title against a claim of such
               creditor against the debtor that arose before the commencement of
               the case.

11 U.S.C. § 553(a). Essentially, the right to setoff allows entities that have mutual obligations to

apply their mutual debts against each other, thereby avoiding “the absurdity of making A pay B

when B owes A.” In re Gordon Sel-Way, Inc., 270 F.3d 280, 290 (5th Cir. 2001) (citing Citizens

Bank v. Strumpf, 516 U.S. 16, 18 (1995)).

               11.     Thus in order for a creditor to establish its right to setoff, it must

demonstrate one of the following:



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                      (a) a debt exists from the creditor to the debtor and that debt arose prior to

                      the commencement of the case;

                      (b) the creditor has a claim against the debtor that arose prior to the

                      commencement of the bankruptcy case; and

                      (c) the debt and the claim are mutual obligations.

See, e.g. In re Nerland Oil, Inc., 303 F.3d 911 (8th Cir. 2002); United States v. Gerth, 991 F.2d

1428, 1431 (8th Cir. 1993); Braniff Airways, Inc. v. Exxon Co., U.S.A., 814 F.2d 1030, 1035

(5th Cir. 1987). Debts are mutual when the debts and credits are in the same right and are

between the same parties, standing in the same capacity. See In re Bennett Funding Group, Inc.,

146 F.3d 136, 139 (2d Cir. 1998); In re Drexel Burnham Lambert Group, Inc., 113 B.R. 830, 847

(Bankr. S.D.N.Y. 1990).

                                 United Is Entitled to Setoff
                        the United Claim Against the Security Deposit

               12.    The United Claim and the Security Deposit arise out of the same

transaction, namely United’s pre-petition Lease with Debtors. The claims and debts qualify as

mutual obligations of United on the one hand and the Debtors on the other. Furthermore, both

claims and debts arose prior to the commencement of these bankruptcy cases. In addition,

United does not know of any substantial dispute as to the amounts due and owing between the

parties.   Therefore, United is entitled to relief from the automatic stay, so that it may

immediately setoff $9,427.42 of the United Claim against the Security Deposit.

                                RESERVATION OF RIGHTS

               13.    The United Claim is not less than $16,655.11 which is greater than the

amount of the Security Deposit. Accordingly, after United exercises its setoff rights, United will

be left with a substantial deficiency claim against the Debtors (the “Deficiency Claim”). United



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reserves all of its rights and or causes of action with respect to the unsatisfied portion of the

United Claim and any other amounts that may be due to United under the terms of the Lease,

including without limitation, the right to file a proof of claim in the Debtors’ chapter 11 cases.

               WHEREFORE, United respectfully requests that this Court enter an order,

substantially in the form attached: (i) granting the Motion; (ii) authorizing the immediate

exercise of setoff rights by United of the United Claim against the Security Deposit; and (iii)

granting such further relief as is appropriate.

Dated: October 2, 2007                            DORSEY & WHITNEY (DELAWARE) LLP


                                                  By___/s/_________________________
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In re:                                                                  Chapter 11

AMERICAN HOME MORTGAGE HOLDINGS,                                        Case No. 07-11047 (CSS)
INC., a Delaware corporation., et al.,
                                                                        (Jointly Administered)
                           Debtors.


                                                      ORDER

                  Upon consideration of the Motion of United For (I) Relief From Stay to Exercise

Setoff Rights Pursuant to Section 553 of the Bankruptcy Code, and (II) Other Related Relief (the

“Motion”);1 and sufficient notice of the Motion having been given to parties in interest as

required under the circumstances; and it appearing that no other or further notice of the Motion

need to be given; and the Court having determined that good cause exists for granting the relief

requested in the Motion; and objections to the Motion, if any, having been withdrawn or

overruled; and after due deliberation and sufficient cause appearing therefore, it is hereby so

                  ORDERED that the Motion is granted; and it is further

                  ORDERED that the automatic stay is hereby lifted so as to authorize the

immediate exercise of setoff rights by United against the Debtors of the United Claim against the

Security Deposit; and it is further

                  ORDERED that the Debtors and United are authorized to take all necessary steps

to implement the terms of this Order; and it is further

                  ORDERED that the relief set forth in this Order is without prejudice to United’s

right to file a proof of claim in the Debtors’ chapter 11 cases and recover upon its Deficiency

Claim; and it is further

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          All undefined capitalized terms herein shall have the same meaning as set forth in the Motion.

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                   ORDERED that this Court shall retain jurisdiction regarding the implementation

of this Order.



                                                      SO ORDERED BY THE COURT:



                                                      United States Bankruptcy Judge




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